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    8 Estate of Joseph Shuster, Jean Adele
        Peavy, and Laura Siegel Larson
    9
                               UNITED STATES DISTRICT COURT
   10
           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
   11
      DC COMICS,                   Case No: CV 10-03633 ODW (RZx)
   12            Plaintiff,
                                   Hon. Otis D. Wright II, U.S.D.J.
   13     vs.                      Hon. Ralph Zarefsky, U.S.M.J.
   14 PACIFIC PICTURES CORPORATION;
                                                   DISCOVERY MATTER
   15   IP WORLDWIDE, LLC; IPW, LLC;
        MARC TOBEROFF, an individual;              [PROPOSED] ORDER
   16                                              GRANTING JOINT
        MARK WARREN PEARY, as personal             STIPULATION TO EXTEND
   17   representative of the ESTATE OF            TIME TO SUBMIT COURT-
        JOSEPH SHUSTER; JEAN ADELE                 ORDERED SUPPLEMENTAL
   18                                              BRIEFING RE: MOTION TO
        PEAVY, an individual; JOANNE               COMPEL PRODUCTION OF
   19   SIEGEL, an individual; LAURA               DOCUMENTS AND AMENDED
        SIEGEL LARSON, an individual,              PRIVILEGE LOGS
   20   and DOES 1-10, inclusive,                  Complaint filed: May 14, 2010
   21                                              Trial Date: None Set
                         Defendants.
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        [PROPOSED] ORDER GRANTING JOINT STIPULATION TO EXTEND TIME FOR SUPPLEMENTAL
                                          BRIEFING
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        [PROPOSED] ORDER GRANTING JOINT STIPULATION TO EXTEND TIME FOR SUPPLEMENTAL
                                          BRIEFING
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                                    #:13515


    1        The parties having stipulated, and good cause appearing, IT IS HEREBY
    2 ORDERED that the parties’ deadline to file their respective supplemental briefs

    3 regarding Plaintiff’s Motion to Compel the Production of Documents and Amended

    4 Privilege Logs shall be continued from March 25, 2011 to March 29, 2011.

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    7        IT IS SO ORDERED.
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    9 Dated: __________________                     ______________________________
                                                    Honorable Ralph Zarefsky
   10                                               Magistrate Judge,
                                                    United States District Court
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        [PROPOSED] ORDER GRANTING JOINT STIPULATION TO EXTEND TIME FOR SUPPLEMENTAL
                                          BRIEFING
